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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

VANCE DOTSON and DANAE PARKER,                         )
                                                       )
                      Plaintiffs,                      )
                                                       )
v.                                                     )    Case No. CIV-22-029-D
                                                       )
TRANSWORLD SYSTEMS, INC., et al.,                      )
                                                       )
                      Defendants.                      )


                                            ORDER

       Upon examination of the Complaint [Doc. No. 1], the Court raises sua sponte the

question of whether jurisdiction exists over any claim by Plaintiff Danae Parker. 1

       The Complaint is not signed by Danae Parker, as required by the Federal Rules of

Civil Procedure, and is ineffective to bring her claims. See Fed. R. Civ. P. 11(a) (“The

court must strike an unsigned paper unless the omission is promptly corrected after being

called to the attorney’s or party’s attention.”).   The Complaint is signed by Vance Dotson,

who indicates he is acting as an attorney-in-fact, but he is not a licensed attorney.      A non-

attorney cannot represent others in federal court.     See 28 U.S.C. § 1654; see also Gonzalez

v. Wyatt, 157 F.3d 1016, 1021 (5th Cir. 1998).        Also, Mr. Dotson represents that Danae

Parker has “assigned 100 percent of these claim(s)” to him, referring to claims under the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.         Assuming this assignment


       1
           Because federal district courts are courts of limited jurisdiction, the Court has “an
independent obligation to determine whether subject-matter jurisdiction exists, even in the absence
of a challenge from any party,” and may raise the issue at any time. See Arbaugh v. Y&H Corp.,
546 U.S. 500, 514 (2006)); 1mage Software, Inc. v. Reynolds & Reynolds Co., 459 F.3d 1044,
1048 (10th Cir. 2006).
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is effective under Okla. Stat. tit. 12, § 2017(D) and federal law, then Ms. Parker may lack

standing to pursue the claim. “Oklahoma law has long held that, upon the assignment of

a claim, ‘the right of action is conferred upon the assignee’ and the assignee ‘acquire[s] as

against the debtor all rights to which the assignor was entitled at the time of the

assignment,’ leaving no interest in the action in the assignor of the claim.”          Redcorn v.

Knox, 2014 OK CIV APP 109, ¶ 47, 345 P.3d 392, 402-03 (quoting Wood & Co. v. Sutton,

1936 OK 667, ¶¶ 8-9, 61 P.2d 700, 701). 2

       For these reasons, the Court finds that Plaintiffs should be directed to show cause

why any claims brought by Danae Parker should not be dismissed without prejudice.

       IT IS THEREFORE ORDERED that Plaintiffs shall show cause in writing not later

than February 7, 2022, why Danae Parker’s claims should not be dismissed.

       IT IS SO ORDERED this 24th day of January, 2022.




       2
          The Court notes that in at least one other case recently filed by Mr. Dotson against these
and other defendants, he has sued solely in his own name as the assignee of a consumer. See
Dotson v. Enhanced Recovery Co., Case No. CIV-21-1110-C (W.D. Okla. Nov. 23. 2021).

                                                 2
